           Case 24-11429-amc                DocFiled 09/04/24 Entered 09/04/24 17:10:20                                       Desc Main
                                               Document
  «AddressBlock»Fill in this information to identify the case:
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  Debtor 1: Phyllis P Oliver
  Debtor 2:
  (Spouse, if filing)
  United States Bankruptcy Court for the: Eastern District of Pennsylvania
  Case number: 24-11429


  Official Form 410S1                                                                                                                    Chapter 13

 Notice of Mortgage Payment Change                                                                                                             12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of Creditor: Deutsche Bank National Trust                               Court claim no. (if known): 2-1
 Company, As Indenture Trustee For New Century Home
 Equity Loan Trust 2004-3,
 Last four digits of any number                                               Date of payment change:             10/01/2024
 you use to identify the debtor’s          3536
                                                                              Must be at least 21 days after
 account:
                                                                              date of this notice
                                                                                                                  $1,210.48
                                                                              New total payment:                  Principal, interest and escrow, if any
 Part 1: Escrow Account Payment Adjustment


 Will there be a change in the debtor’s escrow account payment?         No

 Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe the basis for the change.
 If a statement is not attached, explain why:

                            Current Escrow Payment:                                                          New Escrow Payment:

 Part 2: Mortgage Payment Adjustment


 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate note? Yes

 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law.
 If a notice is not attached, explain why:

                         Current Interest Rate:    11.250                                              New Interest Rate:      11.250

                Current principal and interest payment:     $960.40                          New principal and interest payment:        $960.40

 Part 3: Other Payment Change


 Will there be a change in the debtor’s mortgage payment for a reason not listed above? No

 Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
 (Court approval may be required before the payment change can take effect.)

 Reason for change:

                           Current mortgage payment:                                                    New mortgage payment:
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Debtor 1: Phyllis P Oliver                                                      Case number (if known): 24-11429




Part 4: Sign Here


The person completing the Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number if
Different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box:

     I am the creditor        X     I am the creditor’s authorized agent

                                  (Attach copy of Power of Attorney, if any.)

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information and
reasonable belief.



/s/ Tawakoni Hill                                                               Date: Sep 04, 2024
Signature

Print:   Tawakoni Hill                                                          Title: Authorized Agent


Company:     Liepold, Harrison & Associates


Address:    1425 Greenway Drive, Suite 250
            Irving, TX 75038

Contact Phone:                                                                  Email:   PCNInquiries@lha-law.com
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                                UNITED STATES BANKRUPTCY COURT
                                  Eastern DISTRICT OF Pennsylvania



 In Re:                                                                    Case No. 24-11429

 Phyllis P Oliver

                                                                           Chapter 13

                Debtor(s)

                                      CERTIFICATE OF SERVICE
I hereby certify that on 09/04/2024, a true and correct copy of the foregoing Notice of Mortgage Payment
Change was served upon all interested parties pursuant to the Court’s CM/ECF system and/or by First Class
U.S. Mail.



                                                   By: /s/ Tawakoni Hill

                                                    Authorized Agent for Creditor
                                                    Liepold,Harrison and Associates
                                                    1425 Greenway Drive, Suite 250
                                                    Irving, TX 75038
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Debtor
Phyllis P Oliver
6222 N 10th St
Philadelphia, PA 19141




Debtor’s Counsel
Michael A Cibik
1500 Walnut Street Suite 900
Philadelphia, PA 19102

Trustee
Kenneth E. West
1234 Market Street - Suite 1813
Philadelphia, PA 19107

U.S. Trustee
Office of the United States Trustee
900 Market Street Suite 320
Philadelphia, PA 19107
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